         Case 4:23-mj-02075 Document 7 Filed on 06/27/24 in TXSD Page 1 of 1
                                                                           United States District Court
                                                                             Southern District of Texas
                         UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF TEXAS                            ENTERED
                              HOUSTON DIVISION                                  June 27, 2024
                                                                             Nathan Ochsner, Clerk

UNITED STATES OF AMERICA                      §
                                              §
versus                                        §        Case No. 4:23−mj−02075
                                              §
Sanjay Kumar                                  §


                      ORDER OF DETENTION PENDING HEARING


     A hearing in this case is scheduled as follows:

                       Preliminary Examination and Detention Hearing
                                  July 1, 2024 at 10:00 AM
                                       Courtroom 703
                                 United States District Court
                                       515 Rusk Street
                                     Houston, TX 77002

       IT IS ORDERED: Pending the hearing, the defendant is to be detained in the custody
of the United States Marshal or any other authorized officer. The custodian must bring the
defendant to the hearing at the time, date, and place set forth above.


Date: June 27, 2024
